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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



TONI LEE CAVANAGH, ESQUIRE, :                   CIVIL ACTION
DENISE McCRAE, ESQUIRE,              :
NICHOLENA RUSHTON, ESQUIRE, :                   NO. _____________________
Individuals, by and on behalf of     :
themselves and all persons similarly :
situated                             :          COLLECTIVE AND CLASS ACTION
                                     :
                     Plaintiffs,     :
                                     :
               v.                    :
                                     :
COUNTY OF DELAWARE                   :          JURY TRIAL DEMANDED
                                     :
                     Defendant.      :



                           CIVIL ACTION COMPLAINT

      Plaintiffs, by and through counsel, hereby complain as follows against Defendant

County of Delaware:


I.    PRELIMINARY STATEMENT

      Plaintiffs Toni Lee Cavanagh, Esquire, Denise McCrae, Esquire, Nicholena

Rushton, Esquire, individually and on behalf of all other women who are or were employed

by Delaware County’s Public Defender’s Office (“PDO”), worked for Defendant as

attorneys and were consistently paid less money than their male counterparts who also were

employed by Defendant’s PDO. Defendant’s PDO has paid to its non-supervisory female

attorneys at rates less than the rates paid to male attorneys in the same workplace for



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substantially equal work for jobs the performance of which require and required equal skill,

effort, and responsibility and which were performed under similar working conditions.

This gender-based pay disparity maintained by Defendant remained extant even though the

job performance of Plaintiffs and similarly-situated female attorneys has been superior to

or the same as their male counterparts.

       Defendant’s PDO claims it “is committed to providing and promoting quality legal

representation for indigent adults and children facing the loss of their rights, liberty and

dignity.” Through its public defenders, Defendant strives to provide equal justice for

marginalized communities. Defendant’s public defenders all are expected to provide

zealous advocacy for the thousands of clients it represents yearly. Despite its lofty mission

and goals, Defendant has not respected and valued its female attorneys as much as its male

attorneys. In undertaking here to rectify the injustices and inequalities to which Defendant

has subjected its female attorneys, Plaintiffs allege the following.



II.    NATURE OF THE ACTION

1.     This collective action and class action is brought by Plaintiffs on behalf of

themselves and all other similarly-situated female attorneys currently and formerly

employed by the Defendant for violations of the (a) Equal Pay Act (“EPA”), 29 U.S.C. §

206(d) et seq., (b) Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e

et seq. (“Title VII”), (c) 42 U.S.C. § 1983 to redress the deprivation under color of State

law of equal protection rights secured by the 14th Amendment to the United States

Constitution (“Equal Protection”), (d) Pennsylvania Human Relations Act (“PHRA”), 43


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P.S. § 951 et seq., and (e) Pennsylvania Equal Pay Law, 43 P.S. § 336 (“PEPL”).

Defendant has discriminated against Plaintiffs and the collective action members and class

action members they seek to represent by paying female attorneys in the PDO less than

male attorneys for substantially equal work, denying them equal support, development and

advancement on the basis of their sex, discriminating against them in other terms and

conditions of employment enjoyed by male attorneys employed by the PDO, and denying

them the equal protection of the laws under the United States Constitution.

2.     This action addresses how Defendant’s PDO perpetuated a gender pay gap between

male and female attorneys employed by it and fostered discriminatory practices on the

basis of sex. This lawsuit seeks an end to the PDO’s discriminatory practices and denial

of the equal protection of the laws, and to make whole Plaintiffs and the class action

members and collective action members they represent, as well as provide for liquidated

and punitive damages and all other appropriate relief including but not limited to

compensatory damages, emotional pain, distress, anguish and suffering, anxiety, ridicule,

humiliation, inconvenience, loss of enjoyment of life, injury to professional standing,

injury to character and reputation, indignity, apprehension, loss of self-esteem and other

non-pecuniary losses.



III.   PARTIES

3.     Plaintiff, Toni Lee Cavanagh is a female and practicing attorney who resides in

Delaware County, PA. During times relevant to this lawsuit, Attorney Cavanagh has been




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employed by the Delaware County PDO and was an “employee” of Defendant as that term

is used in the EPA, Title VII, PHRA and the PEPL.

4.     Plaintiff, Denise McCrae is a female and practicing attorney who resides in

Delaware County, PA. During times relevant to this lawsuit, Attorney McCrae has been

employed by the Delaware County PDO and was an “employee” of Defendant as that term

is used in the EPA, Title VII, PHRA and the PEPL.

5.     Plaintiff, Nicholena Rushton, is a female and practicing attorney who resides in

Delaware County, PA. During times relevant to this lawsuit, Attorney Rushton has been

employed by the Delaware County PDO and was an “employee” of Defendant as that term

is used in the EPA, Title VII, PHRA and the PEPL.

6.     The County of Delaware (“County”) is one of the Commonwealth of Pennsylvania’s

67 counties. The County is governed by a five-member County Council. Members of the

County Council are elected on an at-large basis to four-year terms at staggered two-year

intervals when Municipal elections are held, which occur in odd numbered years.

7.     In accordance with the Constitution of Pennsylvania, the County appoints a Public

Defender.   The PDO provides legal defense in the criminal, juvenile, delinquency,

domestic and mental health systems in the County for eligible persons.

8.     At all times relevant hereto, the PDO has been managed, administered and overseen

by an appointed Director who served at the pleasure of the County. At all times relevant

hereto, the Director and those acting on his behalf were acting under color of State law.

9.     At all times relevant hereto, the PDO acted through its several agents, servants, and

employees (including but not limited to those named elsewhere in this Complaint), each of


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whom acted in the course and scope of their employment. The County and the PDO are

therefore fully responsible for the unlawful acts and omissions of the aforesaid employees

pursuant to the principle of respondent superior.

10.    At all times relevant hereto, the PDO employed more than 70 people including, but

not limited to Plaintiffs and all other current and former attorneys of the Office.

11.    At all times relevant hereto, the County is an entity with the capacity to sue and be

sued and is an “employer” as that term is used in the EPA, Title VII, PHRA and the PEPL.



IV.    JURISDICTION AND VENUE

12.    This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this State and this Judicial District are sufficient for the exercise

of jurisdiction over Defendant to comply with traditional notions of fair play and

substantial justice, satisfying the standard set forth by the United States Supreme Court in

Int’l Shoe Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

13.    The United States District Court for the Eastern District of Pennsylvania has original

subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1332 and

1343(a)(4) because it arises under the laws of the United States and seeks redress for

violations of civil rights under Title VII, the Equal Protection clause of the United States

Constitution and the EPA. This Court also may maintain supplemental jurisdiction over

the State law claims set forth herein pursuant to 28 U.S.C. § 1367(a) and Rule 8(a) of the

Federal Rules of Civil Procedure because they are sufficiently related to the claims within

this Court’s original jurisdiction that they form part of the same case or controversy.


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14.    Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(2) and

because a substantial part of the events or omissions giving rise to the claims set forth

herein occurred in this judicial district and Defendant is subject to personal jurisdiction in

the Eastern District of Pennsylvania.



V.     PROCEDURAL REQUIREMENTS

15.    Plaintiffs have exhausted all of the procedural and administrative requirements for

proceeding with their claims of employment discrimination and denial of equal pay.

16.    Plaintiffs timely filed charges of discrimination with the U.S. Equal Employment

Opportunity Commission (“EEOC”) (assigned Charge Nos. 530-2021-03986, 530-2021-

03990 and 530-2021-03991), and the Pennsylvania Human Relations Commission.

17.    On May 13, 2022, fewer than 90 days prior to the filing of this Complaint, the EEOC

issued each Plaintiff/Complainant a Notice of Right to Sue with respect to each Plaintiff’s

charges.



VI.    FACTUAL ALLEGATIONS

18.    Plaintiffs and similarly-situated female attorneys employed by the PDO as Assistant

Public Defenders were paid less as compared to male Assistant Public Defenders with the

same non-managerial positions, requiring substantially equal skill, effort and responsibility

under similar working conditions in the same establishments, and including such things as,

but not limited to: “excellent organizational and communication skills, commitment to

public service, strong work ethic and the ability to manage a demanding workload.”


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19.    The PDO has specified some of the job duties performed by Assistant Public

Defenders as:      “providing legal representation, consulting and advising clients,

representing clients during criminal investigative proceedings, conducting legal research,

interviewing clients and witnesses, maintaining client contact, preparing case strategies and

defenses, drafting motions, pleadings and briefs, appearing at scheduled court hearings,

litigating pretrial motions, negotiating plea bargains, attending sentencing proceedings . . .

. and complying with all Pennsylvania Rules of Professional conduct.”

20.    Similarly, the PDO describes the essential duties of the Assistant Public Defenders

as follows: “Under the general oversight of the Public Defender and First Assistant, an

Assistant Defender is responsible for every aspect of litigation in the criminal, delinquency

and mental health systems, including, but not limited to:

       ● Direct personal consultation with defender clients from inception of the legal
       proceedings through their completion.

       ● The preparation of persuasive legal arguments to advocate for their client’s
       interest at each stage of the legal proceedings.

       ● Overseeing the discovery, collection and presentation of all facts that support
       clients interest at each stage of the legal proceedings.

       ● Engaging in holistic representation practices that attempt to assist the client in
       collateral matters that impact the direct legal representation of the client.

       ● Working within the organization to advocate for structural changes that will
       benefit the interest of public defender clients.

       ● Perform related work, at the request of the Defender or First Assistant, when
       necessary.”

21.    The County’s PDO is the common employer of Plaintiffs, those similarly-situated

and their male counterparts. This includes, for example, selecting and hiring attorneys as


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employees; setting salary levels and providing PDO attorneys with their pay; assigning

them to clients; evaluating their performance; and, making promotions.

22.    Plaintiffs and those whom they seek to represent in this lawsuit are required by the

PDO to perform and have performed the same job duties that require equal skill, effort and

responsibilities performed under similar working conditions as male attorneys.

23.    Beginning at least as early as 2000 and continuously thereafter, female attorneys

employed by the PDO have been paid less for comparable services than the PDO male

attorneys.

24.    On or about August 20, 2020, the Pennsylvania Labor Relations Board (“PLRB”)

certified the United Auto Workers International Union (“Union”) as the bargaining unit

representative of 44 staff attorneys in the PDO. (Case Nos. PERA-C-20-271-E and PERA

C-20-273E).

25.    Thereafter, at the request of the Union, the PDO provided the Union with wage

information for bargaining unit members. By virtue of the wage information disclosed

to the Union by Defendant in 2021, Plaintiffs first learned of the substantial systematic

wage disparity between various female and male attorneys, including Plaintiffs.

       A.     Plaintiffs’ Respective Employment Backgrounds

26.    Attorney Cavanagh received her juris doctor degree in 1995 from Widener

University School of Law and an LL.M. in taxation from the Temple University School of

Law in 2001. After engaging in private practice between 1996-2002 and serving as a

federal judicial law clerk to the Honorable Judge R. Barclay Surrick from November 2002

to August 2003, she was hired in 2004 as an Assistant Public Defender by the PDO at a


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staring annual salary of $27,500.00. As of 2011, her annual salary had increased to

$42,289.20. At the time of her filing her Charge with the EEOC in 2021, Attorney

Cavanagh’s annual salary was $52,560.97.

27.   At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for the work duties and performed those duties of the

position as described above.

28.   As detailed herein, Defendant, without basis or justification, paid Attorney

Cavanagh substantially less than numerous male counterparts employed by the PDO.

Attorney Cavanagh was underpaid her annual salary as compared to numerous male

attorneys in the same establishment who performed the same or substantially similar work,

the performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.

29.   Attorney McCrae was hired in 2003 as an Assistant Defender-Criminal Defense by

the PDO at a staring annual salary of $39,300.00. As of 2011, her annual salary had

increased to $50,295.18. At the time of her filing her Charge with the EEOC in 2021,

Attorney McCrae’s annual salary was $62,511.57. Thereafter, she retired from the PDO.

30.   At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for the work duties and performed those of the position as

described above.

31.   As detailed herein, Defendant, without basis or justification, paid Attorney McCrae

substantially less than numerous male counterparts employed by the PDO, including but

not limited to former male attorneys Skip DiMatteo, Frank Zarilli, Ray Williams, Robert


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D’Agostino, David Taggert and Dan Finnegan. Attorney McCrae was underpaid her

annual salary as compared to numerous male attorneys in the same establishment who

performed the same or substantially similar work, the performance of which required equal

skill, effort, and responsibility, and which were performed under similar working

conditions.

32.    Attorney Rushton received her juris doctor degree in 1999 from Widener University

School. Attorney Rushton was hired in 2001 at a starting salary of $24,000 to early as an

Assistant Defender-Criminal Defense. In about late 2003 to early 2004, she was moved to

the trial team and later was passed over for team leader for the more junior Davis Daniel,

David Iannucci, Jeff Bauer, Baltazar Rubio, Steve Deavor, Robert Lodge, Denis Leonard,

Howard Anmuth and Max Orenstein. As of 2011, her annual salary had increased to

$43,062.36.

33.    Plaintiff Rushton questioned PDO Director Doug Roger why she was not being

promoted to team leader to which he responded to the effect of why would she want to be

a team leader because of her eventually wanting a family. At the time of her filing her

Charge with the EEOC in 2021, Attorney Rushton’s annual salary was $53,758.39.

34.    At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for the work duties and performed the duties of the position

as described above.

35.    As detailed herein, Defendant, without basis or justification, paid Attorney Rushton

substantially less than numerous male counterparts employed by the PDO. Attorney

Rushton was underpaid her annual salary as compared to numerous male attorneys in the


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same establishment who performed the same or substantially similar work, the

performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.

       B.      Other Examples of Female Attorneys Paid Less Than Male Comparator
               Attorneys 1

36.    Attorney Melissa Wright is female and a member of a protected class, as recognized

by Title VII. Attorney Wright was hired by the PDO in 2003 at a starting annual salary of

$33,999.94. As of 2011, her annual salary had increased to $43,611.12. In 2021 she was

being paid $55,550.00.

37.    At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for her work duties and performed those duties as

described above. Upon information and belief, Defendant, without basis or justification,

paid Attorney Wright substantially less than numerous male counterparts employed by the

PDO.

38.    Attorney Wright was underpaid her annual salary as compared to numerous male

attorneys in the same establishment who performed the same or substantially similar work,

the performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.




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          Additional information regarding female attorneys employed by the PDO is expected to be
obtained during the discovery process.


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39.    Attorney Dawn Sutphin is female and a member of a protected class, as recognized

by Title VII. Attorney Sutphin was hired by the PDO in 2012 at a starting annual salary of

$33,999.94. In 2021 she was being paid $43,006.72.

40.    At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for her work duties and performed those duties as

described above. Upon information and belief, Defendant, without basis or justification,

paid Attorney Sutphin substantially less than numerous male counterparts employed by the

PDO.

41.    Attorney Sutphin was underpaid her annual salary as compared to numerous male

attorneys in the same establishment who performed the same or substantially similar work,

the performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.

42.    Attorney Melina Micich is female and a member of a protected class, as recognized

by Title VII. Attorney Micich was hired by the PDO in 2016 at a starting annual salary of

$13,195.00 and increased to $30,000 in October 2016. In 2021, she was being paid

$48,217.91.

43.    At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for her work duties and performed those duties as

described above. Upon information and belief, Defendant, without basis or justification,

paid Attorney Micich substantially less than numerous male counterparts employed by the

PDO.




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44.    Attorney Micich was underpaid her annual salary as compared to numerous male

attorneys in the same establishment who performed the same or substantially similar work,

the performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.

45.    Attorney Maureen Keates is female and a member of a protected class, as recognized

by Title VII. Attorney Keates was hired by the PDO in 2018 at a starting annual salary of

$37,000. In 2021 she was being paid $40,400.00.

46.    At the time of her hire as an attorney by the PDO, and during her tenure in that

position, she was well-qualified for her work duties and performed those duties as

described above. Upon information and belief, Defendant, without basis or justification,

paid Attorney Keates substantially less than numerous male counterparts employed by the

PDO.

47.    Attorney Keates was underpaid her annual salary as compared to numerous male

attorneys in the same establishment who performed the same or substantially similar work,

the performance of which required equal skill, effort, and responsibility, and which were

performed under similar working conditions.

       C.     The Salary That Defendant Paid to Plaintiffs Was Substantially Less Than
              That Paid To Comparator Male Attorneys

48.    From at least 2000, Defendant has paid female attorneys substantially less than that

paid to comparator male attorneys. When it came to salary increases in the PDO, male




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attorneys were the prevalent beneficiaries of the pay increases being given. Upon

information and belief, comparator attorneys were paid as follows: 2

                            Date of Hire as   Annual Salary        Annual Salary      Annual Salary
      Comparator
                            Attorney (DOH)      at DOH             2021               2011

      Richard Blasetti      1/1/03                $37,200.00       $53,758.39         $41,016.24


      Denis Leonard         12/2/02              Undisclosed       $56,147.67         Undisclosed


      William Ruane         Undisclosed          Undisclosed       $74,556.48         Undisclosed


      Howard Anmuth         3/7/05                $27,500.20       $52,459.58         $42,207.60

      David Daniel          1/1/03                $28,750.02       $54,833.56         $41,967.90

      David Iannucci        4/21/08               $30,000.00       $54,079.06         $36,720.00

      Baltazar Rubio        2/2/07                $30,000.00       $55,550.00         $37,784.88

      Kenneth West        5/5/08                $31,000.00       $53,575.45        $30,600.00

      Jeffrey Bauer       8/4/08              Undisclosed        $55,550.00        Undisclosed

      Max Orenstein       5/28/19             Undisclosed        $52,015.00        N/A

      Steven Leach        6/9/14              Undisclosed        $55,182.71        N/A




49.      Defendant perpetuated these pay disparities through at least 2020.

50.      Upon information and belief, Defendant has not sought to rectify these pay

disparities between incumbent female attorneys and male attorneys and equalize their pay

structure.



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           “Undisclosed” is used here to designate information that has not yet been disclosed to Plaintiffs
but is otherwise discoverable.


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       D.     The PDO Has a Policy and Practice of Discriminating Against Female
              Attorneys Employed By It, Including Plaintiffs and those Similarly-
              Situated Female Attorneys That They Represent, on the Basis of Gender
              By Paying Them Less Than Similarly-Situated Male Attorneys

51.    Beginning at least as early as 2000 and continuously thereafter, female attorneys

employed by the PDO have been paid less for comparable services than the PDO male

attorneys.

52.    On or about August 20, 2020, the Pennsylvania Labor Relations Board (“PLRB”)

certified the United Auto Workers International Union (“Union”) as the bargaining unit

representative of 44 staff attorneys in the PDO (Case Nos. PERA-C-20-271-E and PERA

C-20-273E).

53.    Thereafter, at the request of the Union, the PDO provided the Union wage

information for bargaining unit members.         Upon information and belief, the wage

information disclosed to the Union showed a substantial, systemic, enduring and

continuing wage disparity between various female and male attorneys, including Plaintiffs.

Plaintiffs thereafter became aware of that information.

54.   The PDO has no legitimate, non-discriminatory reason for this systemic pay disparity

especially between female and male attorneys.

       E.     The PDO Has a Policy and Practice of Discriminating Against Female
              Attorneys Employed By It, By Providing Them With Less Favorable Terms
              and Conditions of Employment and Retaliating Against Them

55.    Throughout Plaintiffs’ respective tenures, the PDO had a policy and practices of

discriminating against female attorneys on the basis of their gender.




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56.    There has long been a pattern in the PDO of paying higher salaries to male attorneys

than to female attorneys with more experience.

57.    Attorney Cavanagh was denied interviews by Defendant for other County positions

when she was as qualified as male applicants and had more experience in the PDO as well

as greater seniority.

58.    In 2012-2013, former PDO Director Douglas Roger, discouraged Attorney

Cavanagh from seeking promotion to the $55,000 position of Team Chief and instead gave

it to Denis Leonard, twelve years junior to Attorney Cavanagh.

59.    Also, Director Spiros “Spike” Angelos gave Attorney Cavanagh’s office to male

attorney David Iannucci, telling her that she did not need it because she had an office down

the street.

60.    Baltazar Rubio, David Iannucci and Robert Lodge, male attorneys, all received

promotions over Attorney Cavanagh and received higher pay than her. Robert Lodge who

was making about $50,000 well before Attorney Cavanagh, was even given the title of

Chief of Diversion and Re-entry Unit at a salary of about $87,500.

61.    At various times during their respective tenures, Plaintiffs were told by managers in

the PDO such things as: public defender jobs are considered “second jobs” for females

because their husbands work; that their jobs give them something to do while their kids

are in school; and, that females do not want promotions because they have children and

want to spend more time with them.

62.    Several years ago, Attorney Richard Blasetti (paid $53,758.30) was moved to the

appeals unit instead of Attorney Cavanagh (paid $52,560.97).


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63.    In addition to losses in wages, promotion denials and gender-based negative

comments, Plaintiffs and the persons they seek to represent have been subjected to

additional harm as reflected in the annually accrued pension benefit to each female attorney

hired on unequal terms. Each year of unequal pay not only resulted in less salary, but

caused a lower pension amount at retirement age.

64.    Upon information and belief, a $5,000 pay differential in 2005 results in hundreds

of thousands of dollars in lost pay, reduced salary increases and reduced pension benefits

in the decades to follow. For example, Attorney Cavanagh’s starting salary in 2004 was

$27,500. A male attorney, Richard Blasetti, however, started in 2003 at a starting salary

of $37,200. The resulting compounded aggregate harm to her and similarly situated female

attorneys in the PDO is considerable.

65.    The PDO has no legitimate, non-discriminatory reason for this sex discrimination.



VII.   COLLECTIVE ACTION ALLEGATIONS AS TO THE EPA AND THE
       PEPL (The Fair Labor Standards Act of 1938, as amended by the Equal Pay
       Act, 29 U.S.C. § 216(d) et seq. (“FLSA”) and the Pennsylvania Equal Pay Law,
       43 P.S. § 336.5) (“PEPL”)

66.        Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the previous paragraphs of this Complaint as if fully rewritten herein.

67.    This action includes a disparate treatment collective action for (i) violations of the

FLSA which is enforced pursuant to the collective action provisions of the FLSA, 29

U.S.C. § 216(d), and (ii) for violations of the collective action provisions of the PEPL, 43




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P.S. § 336.5. This action is brought on behalf of Plaintiffs and all other females similarly-

situated, specifically as follows:

           All female non-supervisory attorneys who are or were (a) employed
           by the PDO, (b) who were paid at salary levels less than the salaries
           paid to male Assistant Public Defenders in the same workplace for
           9substantially equal work for jobs the performance of which
           required equal skill, effort, and responsibility and which were
           performed under similar working conditions, and/or (c) who were
           adversely impacted in terms and conditions of employment for
           advocating for pay equal to the pay of male Assistant Public
           Defenders.

68.    The FLSA and PEPL Collective Action Class defined above is referred to herein as

the “Collective Class”. Plaintiffs consent in writing to be parties to the FLSA Collective

Action Class pursuant to 29 U.S.C. § 216(d) and the PEPL, 43 P.S. §336.5. Plaintiffs’

written consents are attached hereto as Exhibit A.

69.    As explained herein, under applicable employment laws, Plaintiffs and members of

the Collective Class are entitled to compensation equal to the amount paid to similarly-

situated male Assistant Public Defenders.

70.    As a consequence of the breaches by Defendant of its duty under the FLSA and

PEPL, Plaintiffs and the proposed Collective Class members have suffered substantial

monetary losses and herein seek to be made whole for such losses. Plaintiffs and the

proposed Collective Class members further seek appropriate injunctive relief requiring

future compliance with the equal pay provisions of the FLSA and the PEPL, as well as

liquidated (double) damages pursuant to § 626(b) of the FLSA and § 336 of the PEPL.

71.    Defendant willfully and intentionally failed, delayed or refused to provide its female

attorneys pay equal to the amounts paid to similarly-situated male attorneys and/or


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adversely impacted its female attorneys in terms and conditions of employment for

advocating for equal pay.

72.    The number of members of the Collective Class described herein are believed to be

so numerous that joinder of all members is impracticable.

73.    All of the questions of fact and law that arise as a result of the allegations set forth

herein are common to all of the members of the proposed Collective Class.

74     As harmed former and current PDO attorneys, Plaintiffs will fairly and adequately

protect all interests of the proposed Collective Class.

75.    Proposed Collective Class members, like Plaintiffs, have been current and former

non-supervisory attorneys employed by the PDO during the period between January 2000

and the present who while so employed were paid at salary levels less than the salaries paid

to male attorneys in the same workplace for substantially equal work for jobs the

performance of which required equal skill, effort, and responsibility and which were

performed under similar working conditions.

76.    Defendant has acted and refused to act on grounds applicable to the Collective Class

in that Plaintiffs were employees of the PDO during the period between January 2000 and

the present and who while so employed were paid at salary levels less than the salaries paid

to male attorneys in the same workplace for substantially equal work for jobs the

performance of which required equal skill, effort, and responsibility and which were

performed under similar working conditions.

77.    The collective action mechanism is superior to other available methods for a fair

and efficient adjudication of this controversy.       The damages suffered by individual


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members of the Collective Class may be relatively small when compared to the expense

and burden of litigation, making it virtually impossible for members of the Class to

individually seek redress for the wrongs done to them.

78.    Furthermore, even if any member of the Collective Class could afford individual

litigation against Defendant, it would be unduly burdensome to the judicial system. The

instant methodology, when compared to numerous individual actions, has fewer

management difficulties and provides the benefits of unitary adjudication, economies of

scale, and comprehensive supervision by a single court. Concentrating this litigation in

one forum will promote judicial economy and parity among the claims of individual

members of the Collective Class and provide for judicial consistency.

79     Plaintiffs will fairly and adequately protect the interests of the Collective Class, as

their interests are in complete alignment with those of the Collective Class, i.e., to prove

and then eradicate Defendant’s unlawful employment practices.

80.    Counsel for Plaintiff will adequately protect the interests of the Collective Class.

Such counsel is experienced with employment/collective action litigation.

81.    Plaintiffs and the Collective Class they represent have suffered and will continue to

suffer irreparable damage from the illegal policies, practices and customs regarding

Defendant’s unlawful employment practices.

82.    Defendant has engaged in a continuing violation of the FLSA and the PEPL.

83.    Plaintiffs, as well as the individuals they seek to represent, were denied pay equal

to that of their male counterparts as required by the FLSA, Section 206(d), the PEPL

Section 336, and/or were adversely impacted in terms and conditions of employment for


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advocating for equal pay. These violations were intended by Defendant, and accordingly,

constitute a willful violation of the FLSA and the PEPL.

84.    Defendant has knowingly and willfully engaged in a continuing pattern and practice

of compensating male attorneys more favorably than female attorneys

85.    Defendant has knowingly and willfully engaged in a continuing violation of the

FLSA and the PEPL. Plaintiffs and the respective female attorneys they seek to represent

are (a) similarly situated and (b) subjected to Defendant's common compensation policies,

practices, and procedures and centralized decision-making resulting in unequal pay based

on sex by failing to compensate Plaintiffs at a level commensurate with male employees

who perform substantially equal or similar work.

86.    Defendant’s actions as described herein were intentional and constitute a willful

violation of the FLSA and the PEPL.

87.    Plaintiff has obtained the undersigned Counsel, who are experienced in labor,

employment and class and collective action litigation, for these purposes.



VIII. CLASS ACTION ALLEGATIONS AS TO TITLE                                    VII,   EQUAL
      PROTECTION AND PHRA CIVIL RIGHTS CLAIMS

88.    Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully rewritten herein.

89.    This action also includes a disparate treatment class action for (i) violations of Title

VII, (ii) for violations of the Equal Protection provisions of the United States Constitution,




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and (iii) for violations of PHRA. This class action is brought on behalf of Plaintiffs and

all other women similarly situated.

90.    At all times herein relevant, the PDO has engaged in systemic gender discrimination

against its female attorneys in violation of their civil rights. The PDO has caused,

contributed to, and perpetuated gender-based disparities in the terms and conditions of

employment of their female attorneys through common policies, practices, and procedures,

including but not limited to common compensation policies, common conduct and

management policies, and centralized decision-making, as well as individual unlawful acts

and omissions based upon gender as described herein.

91.     Plaintiffs each filed a charge of discrimination with the EEOC on behalf of

themselves and all similarly-situated female attorneys employed by the PDO alleging that

the PDO had discriminated against them, and similarly-situated females, on the basis of

sex.

92.     On May 13, 2022, the EEOC issued Plaintiffs Notices of Right to Sue, which these

Plaintiffs each received on or about that same date.

93.     Plaintiffs all have exhausted their administrative remedies and have brought this

action in a timely manner.

94.    Plaintiffs bring this action as a class action under Rules 23(a), 23(b)(2) and 23(b)(3)

of the Federal Rules of Civil Procedure, on behalf of themselves and all others similarly

situated.

95.    Specifically, the class Plaintiffs seek to represent is comprised of all current and/or

former female attorneys who were employed by the PDO at any time from 2000 through


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the date of final judgment, or the date of the resolution of any appeals therefrom, whichever

is later.

96.     Upon information and belief, the Class contains more than thirty individuals, all of

whom are readily ascertainable based on the PDO’s payroll records, and is so numerous

that joinder of all members is impracticable.

97.     Plaintiffs’ claims are typical of the claims of the other members of the Class because

the PDO’s discriminatory acts of subjecting female attorneys employed by it to terms and

conditions of employment less favorable than male attorneys employed by it and has

harmed Plaintiffs, and the members of the Class.

98.     Plaintiffs and other Class members sustained damages arising out of the PDO’s

common course of conduct in violation of law as complained herein. The injuries and

damages of each member of the Class were directly caused by the PDO’s wrongful conduct

in violation of laws as alleged herein.

99.     Plaintiffs seek to be appointed as representatives of the Class. Plaintiffs will fairly

and adequately protect the interests of the members of the Class and have retained counsel

competent and experienced in class action litigation.

100.    Plaintiffs will fairly and adequately protect the interests of the Class, as their

interests are in complete alignment with those of the Class, i.e., to prove and then eradicate

Defendant’s unlawful employment practices.

101.    Counsel for Plaintiffs will adequately protect the interests of the Class. Such

counsel is experienced with employment/collective action litigation.




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102.   Plaintiffs and the Class they represent have suffered and will continue to suffer

irreparable damage from the illegal policy, practice, custom, acts and omissions regarding

Defendant’s unlawful employment practices.

103.   Defendant has engaged in a continuing violation of the Title VII, the Equal

Protection clause and the PHRA.

104.   Common questions of law and fact exist as to all members of the Class which

predominate over any questions affecting solely individual members of the Class. Among

the questions of law and fact common to the Class include:

        a.   Whether the PDO discriminates against the Class in violation of
             Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq., as
             amended by the Civil Rights Act of 1991 “Title VII”), 42 U.S.C. §
             1983 to redress the deprivation under color of State law of rights
             secured by the United States Constitution, and the Pennsylvania
             Human Relations Act, by subjecting them to different treatment on
             the basis of their gender, and whether Plaintiffs and the Class have
             suffered disparate impact and/or disparate treatment discrimination
             as a result of Defendant’s wrongful conduct.

        b.   Whether there are legitimate, non-discriminatory reasons for this
             gross disparity of wages and other terms and conditions of
             employment and whether those reasons are pretext for unlawful
             gender discrimination.

        c.   Whether the PDO has willfully violated Title VII, the Equal
             Protection Clause and the PHRA by intentionally, knowingly, and/or
             deliberately subjecting female attorneys employed by it to terms and
             conditions of employment less favorable than male attorneys.

        d.   Whether, as a result of the PDO’s ongoing conduct, violation of Title
             VII, Equal Protection and the PHRA and/or willful discrimination,
             Plaintiff and similarly situated former and current female attorneys
             have suffered and will continue to suffer harm, including but not
             limited to lost earnings, lost benefits, and other financial loss, as well
             as non- economic damages.



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105.   The PDO’s policies at issue apply uniformly to all members of the Class.

106.   The prosecution of separate actions by individual members of the Class would

create the risk of:

         a.    Inconsistent or varying adjudications with respect to individual class
               members that would establish incompatible standards of conduct for
               the party opposing the Class; or

         b.    Adjudications with respect to individual class members that, as a
               practical matter, would be dispositive of the interests of the other
               members not parties to the individual adjudications or would
               substantially impair or impede their abilities to protect their interests.

107.    In construing and enforcing their uniform rules, policies and practices, and in taking

and planning to take the actions described in this Complaint, the PDO has acted or refused

to act on grounds that apply generally to each of the Plaintiffs, so that final injunctive relief

or corresponding declaratory relief would be appropriate for the Class as a whole.

108.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because joinder of all Class members is impracticable.

The prosecution of separate actions by individual members of the Class would impose

heavy burdens upon the courts and the PDO, and would create a risk of inconsistent or

varying adjudications of the questions of law and fact common to the Class. A class action,

on the other hand, would achieve substantial economies of time, effort and expense, and

would ensure uniformity of decision as to persons similarly situated without sacrificing

procedural fairness or bringing about other undesirable results.

109.   The interest of members of the Class in individually controlling the prosecution of

separate actions is theoretical rather than practical. The Class has a high degree of



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cohesion, and prosecution of the action through representatives would be unobjectionable.

The amounts at stake for Class members, while substantial in the aggregate, are not great

enough individually to enable them to maintain separate suits against the PDO. Plaintiffs

do not anticipate any difficulty in the management of this action as a class action.



IX.    CAUSES OF ACTION

            COUNT ONE - VIOLATION OF THE EQUAL PAY ACT
       (The Fair Labor Standards Act of 1938, as amended by the Equal Pay Act,
                           29 U.S.C. § 206 et seq.) (“EPA”)
              (INDIVIDUAL AND COLLECTIVE ACTION CLAIMS)

110.   Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully rewritten herein.

111.   Defendant has discriminated against Plaintiffs and those similarly situated as

described in the Collective Class allegations above in violation of the Fair Labor Standards

Act of 1938, 29 U.S.C. § 206 et seq., as amended by the Equal Pay Act of 1963.

112.   Defendant has paid Plaintiffs and the members of the EPA Collective Class less than

similarly-situated male attorneys performing equal work on jobs the performance of which

require equal skill, effort and responsibility and which are performed under similar working

conditions.

113.   The differential in pay between Plaintiffs and the EPA Collective Class members

on the one hand and similarly-situated male employees on the other hand was and is not

due to any bona fide seniority, merit or incentive system or any other factor other than sex,

but was because of gender.



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114.   Defendant did not act in good faith and created and perpetuated gender-based wage

discrimination in violation of the EPA.

115.   The foregoing conduct constitutes a willful violation of the EPA within the meaning

of 29 U.S.C. § 255(a). The three-year statute of limitations applies to the EPA violations

because the Defendant’s EPA violations were and are willful.

116.   As a result of Defendant’s gender-based discriminatory policies and/or practices as

described above, female attorneys employed by the PDO have suffered damages including,

but not limited to, lost past and future income, compensation and benefits.

117.   Plaintiffs request relief as hereinafter described.

COUNT ONE - PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and members of the EPA Collective,

pray for relief as follows:

(a)    Certify this action as a collective action under the EPA; designate Plaintiffs as the

       representatives of the EPA Collective; promptly issue notice pursuant to 29 U.S.C.

       § 216(b) to all similarly situated members of the Collective which (1) apprises them

       of the pendency of this action and (2) permits them to assert timely EPA claims in

       this action by filing individual written Consent to Join forms pursuant to 29 U.S.C.

       § 26 216(b); and, toll the statute of limitations on the claims of all members of the

       EPA collective from the date the original Complaint was filed until the Collective

       members are provided with reasonable notice of the pendency of this action and a

       fair opportunity to exercise their right to opt into this collective action lawsuit;

(b)    Back Pay (including interest and benefits) for Plaintiffs and the Collective members;


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(c)      Liquidated damages;

(d)      Pre-judgment and post-judgment interest;

(e)      Attorneys’ fees and costs to the fullest extent allowed by law; and,

(f)      Such other relief (including but not limited to injunctive relief) as the Court

         deems just, necessary and proper.



      COUNT TWO - VIOLATION OF THE PENNSYLVANIA EQUAL PAY LAW
               (Pennsylvania Equal Pay Law, 43 P.S. § 336.5) (“PEPL”)
              (INDIVIDUAL AND COLLECTIVE ACTION CLAIMS)

118.     Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully rewritten herein.

119.     Defendant has discriminated against Plaintiffs and those similarly situated as

described in the Collective Class allegations above in violation of the PEPL, 43 P.S. §

336.5.

120.     Defendant has paid Plaintiffs and the members of the PEPL Collective Class less

than similarly-situated male attorneys performing equal work on jobs the performance of

which require equal skill, effort and responsibility and which are performed under similar

working conditions.

121.     The differential in pay between Plaintiffs and the PEPL Collective Class on the one

hand and similarly-situated male employees on the other hand was and is not due to any

bona fide seniority, merit or incentive system or any other factor other than sex, but was

because of gender.




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122.   Defendant did not act in good faith and created and perpetuated gender-based wage

discrimination in violation of the PEPL.

123.   The foregoing conduct constitutes a willful violation of the PEPL within the

meaning of 43 P.S. § 336.5. The three-year statute of limitations applies to the PEPL

violations because the Defendant’s PEPL violations were and are willful.

124.   As a result of Defendant’s gender-based discriminatory policies and/or practices as

described above, female attorneys employed by the PDO have suffered damages including,

but not limited to, lost past and future income, compensation and benefits.

125.   Plaintiffs request relief as hereinafter described.

COUNT TWO - PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and members of the PEPL Collective,

pray for relief as follows:

(a)    Certify this action as a collective action under the PEPL; designate Plaintiffs as the

       representatives of the PEPL Collective; promptly issue notice to all similarly

       situated members of the PPEL Collective which (1) apprises them of the pendency

       of this action and (2) permits them to assert timely PEPL claims in this action by

       filing individual Consent to Join forms; and toll the statute of limitations on the

       claims of all members of the collective from the date the original Complaint was

       filed until the PEPL Collective members are provided with reasonable notice of the

       pendency of this action and a fair opportunity to exercise their right to opt into this

       collective action lawsuit;




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(b)    Back Pay (including interest and benefits) for Plaintiffs and the PEPL Collective

       members;

(c)    Liquidated damages;

(d)    Pre-judgment and post-judgment interest;

(e)    Attorneys’ fees and costs to the fullest extent allowed by law; and,

(f)    Such other relief (including but not limited to injunctive relief) as the Court deems

       just, necessary and proper.



  COUNT THREE - VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
            OF 1964, AS AMENDED (42 U.S.C. § 2000e et seq.)
          (INDIVIDUAL AND COLLECTIVE ACTION CLAIMS)

126.   Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully set forth herein.

127.   Plaintiffs bring this claim on behalf of themselves and the Title VII Class they

represent.

128.   The conduct described herein violates Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e et seq.

129.   Defendant has and continues to intentionally discriminate against Plaintiffs and the

Title VII class they seek to represent on the basis of gender by maintaining a policy and

practice of treating them less favorably than similarly-situated male employees with respect

to, among other things, compensation policies, conduct and management policies, pay,

promotions, office assignment, performance review, benefits of employment as well as

individual unlawful acts and omissions based upon gender as described herein.


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130.   Defendant’s discriminatory practices described above have resulted in Plaintiffs and

the Title VII class having loss of past and future wages, pension and other job benefits, and

have caused Plaintiffs to suffer emotional pain, distress, anguish and suffering, anxiety,

ridicule, humiliation, inconvenience, loss of enjoyment of life, injury to professional

standing, injury to character and reputation, indignity, apprehension, loss of self-esteem

and other non-pecuniary losses.

131.   Defendant acted or failed to act as herein alleged with malice or reckless

indifference to the protected rights of Plaintiffs and the class they seek to represent.

Plaintiffs and the class are thus entitled to punitive damages.

132.   Plaintiffs request relief as hereinafter described.

COUNT THREE - PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and the Title VII class they seek to

represent, pray for relief as follows:

(a)    Certify this action as a class action under Title VII, designate Plaintiffs as the

       representatives of the proposed Title VII class, and their counsel of record as Title

       VII Class Counsel;

(b)    All damages that the individual Plaintiffs and the Title VII class have sustained as

       a result of Defendant’s unlawful conduct including, but not limited to, back pay,

       front pay, general and special damages for lost compensation and job benefits that

       they would have received but for the discriminatory practices of the Defendant;

(c)    Exemplary and punitive damages in an amount commensurate with Defendant’s

       ability to pay and to deter future discriminatory conduct;


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(d)    A preliminary and permanent injunction against Defendant and its officials,

       directors, officers, agents, employees, representatives, and any and all persons

       acting in concert with them, from engaging in each of the unlawful policies and

       practices set forth herein;

(e)    A declaratory judgment that the practices complained of in this Complaint are

       unlawful and violate 42 U.S.C. § 2000e et seq.;

(f)    An adjustment of the wage rates and benefits for Plaintiffs and the Title VII class to

       the level these Plaintiffs and the Title VII class would be enjoying but for

       Defendant’s discriminatory practices;

(g)    Pre-judgment and post-judgment interest;

(h)    Attorneys’ fees and costs to the fullest extent allowed by law; and,

(i)    Such other relief (including but not limited to injunctive and declaratory relief) as

       the Court deems just, necessary and proper.



       COUNT FOUR - VIOLATION OF THE PA HUMAN RELATIONS ACT
                           (43 P.S. § 951 et seq.)
                    (INDIVIDUAL AND CLASS CLAIMS)

133.   Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully set forth herein.

134.   Plaintiffs bring this claim on behalf of themselves and the Class they represent.

135.   The conduct described herein violates the Pennsylvania Human Relations Act, 43

P.S. § 951 et seq. (“PHRA”).




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136.   Defendant has and continues to intentionally discriminate against Plaintiffs and the

PHRA class they seek to represent on the basis of gender by maintaining a policy and

practice of treating them less favorably than similarly situated male employees with respect

to, among other things, compensation policies, conduct and management policies, pay,

promotions, office assignment, performance review, benefits of employment as well as

individual unlawful acts and omissions based upon gender as described herein.

137.   Defendant’s discriminatory practices described above have resulted in Plaintiffs and

the PHRA class having loss of past and future wages, pension and other job benefits, and

have caused Plaintiffs to suffer emotional pain, distress, anguish and suffering, anxiety,

ridicule, humiliation, inconvenience, loss of enjoyment of life, injury to professional

standing, injury to character and reputation, indignity, apprehension, loss of self-esteem

and other non-pecuniary losses.

138.   Defendant acted or failed to act as herein alleged with malice or reckless

indifference to the protected rights of Plaintiffs and the class they seek to represent.

139.   Plaintiffs request relief as hereinafter described.

COUNT FOUR - PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and the PHRA class they seek to

represent, pray for relief as follows:

(a)    Certify this action as a class action under the PHRA, designate Plaintiffs as the

       representatives of the proposed PHRA class, and their counsel of record as PHRA

       Class Counsel;




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(b)   All damages that the individual Plaintiffs and the PHRA class have sustained as a

      result of Defendant’s unlawful conduct including, but not limited to, back pay, front

      pay, general and special damages for lost compensation and job benefits that they

      would have received but for the discriminatory practices of the Defendant;

(c)   Exemplary and punitive damages in an amount commensurate with Defendant’s

      ability to pay and to deter future discriminatory conduct;

(d)   A preliminary and permanent injunction against Defendant and its officials,

      directors, officers, agents, employees, representatives, and any and all persons

      acting in concert with them, from engaging in each of the unlawful policies and

      practices set forth herein;

(e)   A declaratory judgment that the practices complained of in this Complaint are

      unlawful and violate 42 U.S.C. § 2000e et seq.;

(f)   An adjustment of the wage rates and benefits for Plaintiffs and the PHRA class to

      the level these Plaintiffs and the PHRA class would be enjoying but for Defendant’s

      discriminatory practices;

(g)   Pre-judgment and post-judgment interest;

(h)   Attorneys’ fees and costs to the fullest extent allowed by law; and,

(i)   Such other relief (including but not limited to injunctive and declaratory relief) as

      the Court deems just, necessary and proper.



COUNT FIVE - VIOLATION OF THE EQUAL PROTECTION PROVISIONS OF
                THE UNITED STATES CONSTITUTION
                 (INDIVIDUAL AND CLASS CLAIMS)


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140.   Plaintiffs re-allege and incorporate by reference each and every allegation contained

in the previous paragraphs of this Complaint as if fully set forth herein.

141.   Plaintiffs bring this claim on behalf of themselves and the Class they represent

pursuant to 43 U.S.C. § 1983.

142.   The conduct described herein violates the Equal Protection provisions of the 14th

Amendment of the United States Constitution in that Defendant is required thereunder to

govern impartially and not draw distinctions between males and females based on their

gender – an obligation it has failed to follow.

143.   Defendant has and continues to intentionally treat female attorneys and male

attorneys unequally by maintaining and implementing a policy and practice of treating

females less favorably than similarly-situated male employees with respect to, among other

things, compensation policies, conduct and management policies, pay, promotions, office

assignment, performance review, benefits of employment as well as individual unlawful

acts and omissions based upon gender as described herein. Such gender-based treatment

constitutes a violation of the Equal Protection Clause.

144.   In maintaining and implementing such unlawful policies, practices, conduct and

omissions, Defendant has caused the deprivation of the rights of Plaintiffs and those they

seek to represent in violation of the constitutional principles of equal protection.

145.   Defendant has undertaken its unlawful actions and omissions described herein under

color of State law.




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146.   Defendant’s practices described above have resulted in Plaintiffs and the Class

members being denied equal protection of the laws subjecting them to the loss of past and

future wages, pension and other job benefits, and have caused Plaintiffs to suffer emotional

pain, distress, anguish and suffering, anxiety, ridicule, humiliation, inconvenience, loss of

enjoyment of life, injury to professional standing, injury to character and reputation,

indignity, apprehension, loss of self-esteem and other non-pecuniary losses.

147.   Defendant under the color of State law acted or failed to act as herein alleged with

malice or reckless indifference to the protected rights of Plaintiffs and the class they seek

to represent. Plaintiffs and the class are thus entitled to punitive damages.

148.   Plaintiffs request relief as hereinafter described.

COUNT FIVE - PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, on behalf of themselves and the class they seek to represent,

pray for relief as follows:

(a)    Certify this action as a class action, designate Plaintiffs as the representatives of the

       proposed class, and their counsel of record as Class Counsel;

(b)    All damages that the individual Plaintiffs and class members have sustained as a

       result of Defendant’s unlawful conduct including, but are not limited to, back pay,

       front pay, general and special damages for lost compensation and job benefits that

       they would have received but for the gender-based practices of the Defendant;

(c)    Exemplary and punitive damages in an amount commensurate with Defendant’s

       ability to pay and to deter future deprivation of civil rights;




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(d)    A preliminary and permanent injunction against Defendant and its officials,

       directors, officers, agents, employees, representatives, and any and all persons

       acting in concert with them, from engaging in each of the unlawful policies and

       practices set forth herein;

(e)    A declaratory judgment that the practices complained of in this Complaint are

       unlawful and violate the Equal Protection Clause of the 14th Amendment to the

       United States Constitution;

(f)    An adjustment of the wage rates and benefits for Plaintiffs and the class members

       to the level these Plaintiffs and the class members would be enjoying but for the

       deprivation of the equal protection of the laws to which Plaintiffs and the class

       members were subjected by Defendant under color of law;

(g)    Pre-judgment and post-judgment interest;

(h)    Attorneys’ fees and costs to the fullest extent allowed by law; and,

(i)    Such other relief (including but not limited to injunctive and declaratory relief) as

       the Court deems just, necessary and proper.


      JURY TRIAL DEMAND AND COURT’S CONTINUING JURISDICTION

All of the claims of Plaintiff and members of the Collective and Class actions are to receive

a trial by jury to the extent allowed by applicable law. This demand has also been endorsed

on the caption of this Complaint in accordance with Federal Rule of Civil Procedure 38

(b); this Court should maintain jurisdiction over the instant action to ensure full compliance




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with its Orders therein until such time as it is satisfied that its Orders and dictates have been

complied with in full by Defendant.




                                     Respectfully submitted,

                                     WEINSTEIN LAW FIRM, LLC

                                     /s/ Marc E. Weinstein, Esquire
                                     Marc E. Weinstein
                                     Identification No. 79474
                                     500 Office Center Drive, Suite 400
                                     Fort Washington, PA 19034
                                     267.513.1942 (tel)
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                                     and

                                     PENTIMA LAW FIRM, PLLC

                                     /s/ Vincent J. Pentima, Esquire
                                     Vincent J. Pentima
                                     Identification No. 18523
                                     507 Jennifer Drive
                                     Dresher, PA 19025
                                     267.670.2796 (tel)
                                     vjp@pentimalaw.com

Dated: August 9 , 2022




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                                                     EXHIBIT 1
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                           IN THE UNITED STATES DISTRICT COURT FOR
                              THE EASTERN DISTRICT OF PENNSYLVANIA


                                                     CIVIL ACTION
    TONI LEE CAVANAGH, ESQUIRE, :
 DENISE McCRAE, ESQUIRE, NICHOLENA
 RUSHTON, ESQUIR Individuals, by and on
 behalf of themselves and all persons similarly
 situated
                                                     NO.


                                                     COLLECTIVE AND CLASS
                                                     ACTION
                       Plaintiffs,


 COUNTY OF DELAWARE
                                                     JURY TRIAL DEMANDED

                      Defendant.

                                         CONSENT TO JOIN



    By my signature below, I, Denise McCrae, Esquire, hereby authorize the filing and
   prosecution of the above-styled Fair Labor Standards Act and Equal Pay Act collective action and
   agree to act as a representative of others similarly situated and to make decisions on
   my behalf and on behalf of others similarly situated concerning this litigation, the method
   and manner of conduction this litigation, and any other matters pertaining to this lawsuit.


Print Name:
Denise McCrae
                                     Sign Name:
                                     Denise McCrae
                                                                   Date:
                                                                   09/09\2022
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JS 44 (Rev. 10/20)              Case 2:22-cv-03174-MRP
                                                   CIVILDocument
                                                         COVER1SHEET
                                                                 Filed 08/09/22 Page 42 of 43
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         TONI LEE CAVANAGH, ESQ. et al.                                                                  COUNTY OF DELAWARE
   (b) County of Residence of First Listed Plaintiff             DELAWARE                                County of Residence of First Listed Defendant              DELAWARE
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Marc E. Weinstein WEINSTEIN LAW FIRM, LLC 500
         Office Center Dr., Ste. 400, Ft. Washington, PA 19034
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment       ✖ 442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        42 U.S.C. sec. 2000e (Title VII of the Civil Rights Act of 1964, as amended)
VI. CAUSE OF ACTION Brief description of cause:
                                        Sex Discrimination in Employment
VII. REQUESTED IN                      ✖    CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Aug 9, 2022                                                          /s/ Marc E. Weinstein
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                           Case 2:22-cv-03174-MRP
                                              UNITEDDocument  1 Filed
                                                    STATES DISTRICT    08/09/22 Page 43 of 43
                                                                    COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                              112 West Front Street, Media, PA 19063 (DELAWARE COUNTY, PA)
Address of Plaintiff: ______________________________________________________________________________________________
                           220 North Jackson Street, Media, PA 19063 (DELAWARE COUNTY, PA)
Address of Defendant: ____________________________________________________________________________________________
                                                                   DELAWARE COUNTY, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      08/09/2022
DATE: __________________________________                                     0XVWVLJQKHUH
                                                             __________________________________________                                     79474
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

            Marc E. Weinstein
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      08/09/2022
DATE: __________________________________                                   6LJQKHUHLIDSSOLFDEOH
                                                             __________________________________________                                     79474
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
